Case 21-30085-hdh11 Doc 441-11 Filed 03/30/21   Entered 03/30/21 21:17:44   Page 1 of 3




                             EXHIBIT K
Case 21-30085-hdh11 Doc 441-11 Filed 03/30/21   Entered 03/30/21 21:17:44   Page 2 of 3
Case 21-30085-hdh11 Doc 441-11 Filed 03/30/21           Entered 03/30/21 21:17:44   Page 3 of 3



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